Case 1:15-cv-05239-MKB-ST Document 97 Filed 06/18/18 Page 1 of 9 PageID #: 635




Prasanna Goonewardena
247-34A 77 Cres
Bellerose, NY 11426

June 19,2018                                                 OmSINAL
Hon. Steven Tiscione
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re: 15 CV 5239
    Goonewardena v. Spinelli


Your Honor:


I write in response to Office of the Court Administration (hereinafter"OCA")counsel Mr.

Adlerstein's letter dated June 11, 2018 (docket entry # 93). Mr. Adlerstein's letter requesting my

case be dismissed is unwarranted and pushed plaintiff to the brink to write the following:



Mr. Adlerstein who is Jewish openly expressing his evil thoughts probably because I am a

colored immigrant. Everyone knows that 90% of the Jewish people in the world are prejudicial,

arrogant, self-centered and preoccupied with delusional thoughts-praying to a manmade wall

saying that it is a holly wall. Other than judge Bloom, I never had a Jewish person done anything

good to me. On the other hand, I never had an Irish person done anything bad to me. Irish people

are the nicest people in the world. Example:judge Raymond Dearie. Even Albert Einstein

expressed prejudicial thoughts.(Exhibit A.) Mr. Adlerstein makes $163,979.02/ yr. to sit at a

desk and just to be a prejudicial person.
Case 1:15-cv-05239-MKB-ST Document 97 Filed 06/18/18 Page 2 of 9 PageID #: 636




 Mr. Adlerstein requested,"... this matter may be discontinued for failure to prosecute."{idat 3.)

 First, Mr. Adlerstein is not the defense attorney. As a matter oflaw and policy, he cannot be the

 defense attorney. Mr. Adlerstein has no legal authority to persuade district judge to dismiss a

 case that he is not involved. Even assuming arguendo, Mr. Adlerstein has authority to make such

request, which he does not have, plaintiff is making every attempt to prosecute this case. It is the

defendants not complying with the discovery demands.(The defendants have yet to produce

 Spinelli and others for their depositions.) See Exhibit B my latest letter to the defendants. Mr.

adlerstein also preoccupied with whether plaintiff filed Rule 26 disclosure. {Id,) Again Mr.

 Adlerstein has no legal authority to make such request. His job is to prosecute the three

defendants. Instead he is preoccupied with denying plaintiff right to due process to getjustice.

Therefore, this court should issue a gag order. Since Mr. Adlerstein is Jewish, no gag order will

be issued against him.

                                   A few things about me

I love this country. When I was 19,1 joined the Navy and took the oath to defend this country. I

did not go to boot camp for various reasons. What has Mr. Adlerstein done to this country?

Nothing. I have been working since I was 16. Some of the jobs I have done are, loading trucks,

working for Panam airline, at a hospital etc. Most recently in 2015 cleaning toilets and scrubbing

bathrooms. What happened at Zucker, this incident and 2016 election made me to believe that it

would be better for me to relocate to another country. Who in the right mind wants to get

assaulted for sheer pleasure & arrogance.
Case 1:15-cv-05239-MKB-ST Document 97 Filed 06/18/18 Page 3 of 9 PageID #: 637




                                      Subpoena's

     1. OCA employees- Mr. Adlerstein, Shawn Kerby, Joseph Kuceluk must release their email

 communications with the defense attorney Siudzinski. Mr. Adlerstein refusing invoking attorney

 client privilege. OCA and Siudzinski are attorney and client? Not so.



 A party invoking the attorney-client privilege must show (1)a communication between client

 and counsel that(2) was intended to be and was in fact kept confidential, and (3) was made for

 the purpose of obtaining or providing legal advice. Here all three prongs fail. Communications

 between OCA employees and Siudzinski is not for seeking legal advice rather how to sabotage

 plaintiffs case. There is no attorney client relationship exist between OCA employees and

 Siudzinski.




    2. OCA must release laws (collective bargaining law or OCA law)that they have applied

 not to proceed with plaintiffs complaint against the three court officers until the civil case is

 completed. OCA counsel at the April 17'*' conference indicated that they did not interview the

 three defendants yet due to union laws. Now they must release such law.



    3. OCA must release all complaints, disciplinary actions taken against the three officers and

 arrest(s) they have made in the past. These are not privilege information. National Congressfor

Puerto Rican Rights ex re. Perez v. City ofNew York 194 F.R.D. 88 2000 WL 358385(S.D.N.Y.

 2000); Morrissey v. City ofNew York 171 F.R.D. 85, 88(S.D.N.Y. 1997)(In federal actions,

 discovery should be broad, and all relevant materials which are reasonably calculated to lead to

 discovery of admissible evidence should be [discoverable]). I consent to in camera review.
Case 1:15-cv-05239-MKB-ST Document 97 Filed 06/18/18 Page 4 of 9 PageID #: 638



           -K>
 I apologize Hon. Tiscione for asking his recusal. It was an error in my part. I do not Know Mr.

 Louis Balocca. I am going by two of his rulings(Docket entry ##' 70 & 89). This case is very

 important to me because, I was assaulted and falsely arrested. I deeply care about my liberty

 interests. My civil rights have been violated just for sheer arrogance.



 I look forward to July \   conference. I hope, the court able to end this litigation because I am

 accepting the settlement offer Hon. Tiscione negotiated on February 15, 2018.



 Dated: June 19,2018                                                   ^Ji^sp^tfi          ted
        Queens, NY

                                                                           Prasanna Goonewardena




 cc: Lee Adlerstein, OCA counsel
     Michael Siudzinski, attorney for the defendants
Case 1:15-cv-05239-MKB-ST Document 97 Filed 06/18/18 Page 5 of 9 PageID #: 639




EXHIBIT A
          Case 1:15-cv-05239-MKB-ST Document 97 Filed 06/18/18 Page 6 of 9 PageID #: 640
     Einstein Travel Diary
       Teems With Racism
          And Stereotyping
       By YONETTE JOSEPH               Project at the California Institute
        and TIFFANY MAY                ofTechnology and the editor of the
                                       book.
  LONDON — In 1922, the same
year he received the Nobel Prize         Mr.Rosenkranz said in an email
in Physics,Albert Einstein set out     on Thursday that the book also
with his wife,Elsa,on a five-and-a-    "confronts us with the limits of his
half-month Odyssey of discovery        humanism, his intellectual elit
of a new world: the Far East and       ism."
Middle East.                             "I think a lot ofcomments strike
  Along the way,he wasfeted by a       us as pretty unpleasant—what he
Japanese empress and had an au         says about the Chinese in particu
dience with the king of Spain. He      lar," he also told The Guardian.
 also kept a travel diary, noting in   "They're kind of in contrast to the
 stark, often racist terms his im-     public image of the great humani
j)ressions of the people he encoun-    tarian icon. I think it's quite a
*tered on stops in Hong Kong and       shock to read those and contrast
 Singapore, China, Japan, India        them with his more public state
and Palestine.                         ments."
  The personal writings do not     When Einstein set out on his
only reveal the musings of a man journey,he was in his 40s,already
grappling with a jolt to his view of renowned for his work on the pho
the world.They ^so expose "Ein         toelectric effect and on relativity,
stein's stereotyping of members of     and developing a second reputa
various nations and raise ques         tion as a progressive public figure.
tions about his attitudes on race,"      The travel diaries, however,lay
according to Princeton University      bare a different side of a remark
press, which has published the         able mind.
firstfull English-language edition.    IN HONG KONG                                                                                      ASSOCIATED PRESS
   The first volume of the trove —     He quotes Portuguese teachers
his writings were previously
                                                                              Personal writings of Albert Einstein from 1922 and 1923 reveal
                                       who say,"The Chinese are incapa        his musings about cultures he had never experienced before.
available in German — is now           ble of being trained to think logi
available under the title "The         cally and that they specifically
TVavel Diaries of Albert Einstein."    have no talent for mathematics."       likes of us,the mere thought is un   "Intellectual needs of this nation
It complicates the'portrait of a                                              speakably dreary."                   seem to be weaker than their ar
 man often described as the most       "I noticed how little difference                                            tistic ones—natural disposition?"
 brilliant physicist of the modern     there is between men and women;        IN SHANGHAI
era.                                   I don't understand what kind offa      A Chinese funeral is described as    IN CEYLON
   Einstein wa§ a German-born          tal attraction Chinese women pos       "barbaric for our taste," the        Visiting the British colony thatlat
 Jewish scientist who was targeted     sess which enthralls the corre         streets "swarming with pedestri      er became Sri Lanka, Einstein
 by the Nazis and became known         sponding men to such an extent ans.",                                  writes that the residents of Co
 as an advocate for human rights.      that they are incapable of defend                                      lombo "live in great filth and con
 He once sajd in an interview,"Be      ing themselves against the formi "In the air there is a steiich of siderable stench at ground level,"
 ing a Jew myself, perhaps I can       dable blessing of offspring."     never-ending manifold variety."      adding that they "do little, and
 understand and empathize with                                           "Even those reduced to working need little. The simple economic
 how black people feel as victims of   AROUND MAINLAND CHINA             like horses never give the impres cycle of life."
 discrimination."                      He writes of observing "industri sion of conscious suffering. A pe
   But in his private writings on      ous,filthy, obtuse people."       culiar herd-like nation," he writes,   While many may insist on dis
 thatjourney from October 1922 to                                             "often more like automatons than     missing the diary entries as
                                       "Chinese don't sit on benches
 March 1923^ "other peoples are                                               people."                             merely reflecting the attitudes of
                                        while eating but squat like Euro                                           the era, Mr. Rosenkranz told The
 portraye^d as being biologically in    peans do when they relieve them
 ferior,a^lear hallmark of racism,"                                                                                Guardian, the xenophobia and
                                        selves out in the leafy woods. All IN JAPAN
                                                                                                                   prejudice they revealed had been
 wrote Ze'ev Rosenkranz,assistant       this occurs quietly and demurely. "Japanese unostentatious,decent,
 directoii'of the Einstein Papers       Even the children are spiritless,
                                                                          altogether very appealing," Ein          far from universal.
                                                                     stein writes, adopting a more flat-             "That's usually the reaction I
                                        and look obtuse."
 Yonette Joseph reportedfrom Lon                                   • tering tone, though in some in                get: 'We have to understand, he
 don, and Tiffany Mayfrom Hong "It would be a pity if these Chinese stances it veers into eugenic terri            was of the Zeitgeist, part of the
 Kong.                         supplant all other races. For the tory.                                             time,'" he said."But I think I tried
Case 1:15-cv-05239-MKB-ST Document 97 Filed 06/18/18 Page 7 of 9 PageID #: 641




EXHIBIT B
Case 1:15-cv-05239-MKB-ST Document 97 Filed 06/18/18 Page 8 of 9 PageID #: 642




June 19,2018

Dear Customer:

The following Is the proof-of-dellvery for tracking number 781423584620.

 Delivery Information:
Status:                       Delivered                   Delivery location:           28 LIBERTY ST
                                                                                       New York. NY 10005

Signed for by:                Signature on File           Delivery date:               Jun 15, 2018 16:38
Service type:                 FedEx Ground
Special Handling:


 NO SIGNATURE REQUIRED
Proof-of-delivery details appear below; however, no signature is available for this FedEx Ground shipment because a
signature was not required.




 Shipping Information:
Tracking number               781423584620                Ship date:                   Jun 14, 2018
                                                          Weight:                      0.2 lbs/0.1 kg



Recipient:                                                Shipper:
Michael Siudzinski                                        Prasanna Goonewardena
NY State Attorney General's Office                        Prasanna Goonewardena
28 Liberty Street                                         24734 A 77TH ORES
Litigation                                                BELLEROSE, NY 11426 US
New York, NY 10005 US



Thank you for choosing FedEx.
Case 1:15-cv-05239-MKB-ST Document 97 Filed 06/18/18 Page 9 of 9 PageID #: 643




 Prasanna Goonewardena
 247-34A 77 Cres
 Bellerose, NY 11426

 June ly,2018

 Michael Siudzinski
 New York State Attorney General's Office
 28 Liberty Street
 New York, NY 10005

 Re: 15 CV 5239
     Depositions

 Mr. Siudzinski:


 Enclosed, please find my response to OCA counsel Lee Adlerstein's letter dated June 11, 2018.
 For the fourth time, I am kindly asking you to contact me with the dates defendant Spinelli
 available for his deposition. I am available any day in July. All depositions going to take place at
 court reporting office including my deposition.

 On June 14, 2018,1 sent you my response to your discovery demands. Tracking records (Exhibit
 B)shows that you received it on June 15,2018.

                       questions, please contact me via mail.



 Prasanna Goonewardena
